UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
YARON KWELLER,

                                   Plaintiff,

                 -against-                                          Case No. 3:24-CV-1328 (DNH/ML)

THE COUNTY OF BROOME, THE CITY OF
BINGHAMTON, THE BROOME COUNTY
DISTRICT ATTORNEY’S OFFICE, DISTRICT
ATTORNEY MICHAEL A. KORCHAK, CHIEF
ASSISTANT DISTRICT ATTORNEY MARK
LOUGHRAN, ASSISTANT DISTRICT ATTORNEY
ALYSSA CONGDON, ASSISTANT DISTRICT
ATTORNEY AMANDA CRONIN, DISTRICT
ATTORNEY INVESTIGATOR JEFF J. WAGNER,
BINGHAMTON POLICE DEPARTMENT CHIEF
JOSEPH ZIKUSKI, BINGHAMTON POLICE
DEPARTMENT CAPTAIN CORY MINOR,
BINGHAMTON POLICE DEPARTMENT
INVESTIGATOR AMANDA MILLER, all in their
individual capacities, and JOHN DOES 1-10,
representing Broome County District Attorney’s Office
and Police Department Employees Whose Names Are
Currently Unknown, HAILEY DEMKOVICH, and
SAMANTHA HERCEG.

                                    Defendants.
--------------------------------------------------------X


              DEFENDANT ALYSSA CONGDON’S MEMORANDUM OF LAW
                      IN SUPPORT OF MOTION TO DISMISS


                                                                         HACKER MURPHY LLP
                                                                               James C. Knox, Esq.
                                                                               Bar Roll No. 517109
                                                                                Alishah E. Bhimani
                                                                               Bar Roll No. 704214
                                                                                   28 Second Street
                                                                                    Troy, NY 12180
                                                            Attorneys for Defendant Alyssa Congdon
                                                   TABLE OF CONTENTS
TABLE OF AUTHORITIES ...................................................................................................... ii-iv
PRELIMINARY STATEMENT .....................................................................................................1
STATEMENT OF FACTS ..............................................................................................................2
STANDARD OF REVIEW .............................................................................................................2
ARGUMENT ...................................................................................................................................3
    I.    PLAINTIFF’S CLAIMS ARE BARRED BY ABSOLUTE PROSECUTORIAL
          IMMUNITY ...................................................................................................................3
            A. Defendant’s Decision to Pursue Criminal Charges
                  Following Her Evaluation of the Evidence Gathered Is Protected
                  by Absolute Immunity ......................................................................................6
            B. Defendant’s Conduct During Grand Jury Presentation
                  Is Protected by Absolute Immunity ..................................................................8
            C. Defendant’s Alleged Withholding of Exculpatory Evidence
                  From Plaintiff’s Criminal Defense Counsel Is Protected by Absolute
                  Immunity ........................................................................................................10
            D. Defendant’s Alleged Preparation of Witnesses Is Protected by Absolute
                  Immunity ........................................................................................................11
    II. TO THE EXTENT ANY OF DEFENDANT’S CONDUCT IS NOT
          ENCOMPASSED BY ABSOLUTE IMMUNITY, QUALIFIED IMMUNITY
          BARS ANY AND ALL REMAINING CLAIMS BY PLAINTIFF ...........................12
    III. PLAINTIFF’S FIRST AND EIGHTH CAUSES OF ACTIONS
          MUST BE DISMISSED ..............................................................................................15
            A. False Arrest Claim ........................................................................................16
            B. Malicious Prosecution Claim .......................................................................18
    IV. PLAINTIFF’S SECOND AND TENTH CAUSES OF ACTION
          MUST BE DISMISSED ..............................................................................................19
    V. PLAINTIFF’S THIRD CAUSE OF ACTION MUST BE DISMISSED ...................20
    VI. PLAINTIFF’S FIFTH CAUSE OF ACTION MUST BE DISMISSED .....................21
    VII. PLAINTIFF’S SEVENTH CAUSE OF ACTION MUST BE DISMISSED ..............21
    VIII. PLAINTIFF’S NINTH CAUSE OF ACTION MUST BE DISMISSED ....................23
CONCLUSION ..............................................................................................................................24




                                                                     i
                                               TABLE OF AUTHORITIES
                                                                                                                               Page(s)
Cases

Abdul-Aziz v. City of New York,
  56 A.D.3d 291 (1st Dept 2008) ..................................................................................................18
Ahmed v. Gelfand,
  160 F.Supp.2d 408 (E.D.N.Y. 2001) ..........................................................................................22
Arzeno v. Mack,
  39 A.D.3d 341 (1st Dept 2007) ..................................................................................................15
Ashcroft v. Iqbal,
  556 U.S. 662 (2009). .................................................................................................................3,9
ATSI Commc'ns, Inc. v. Shaar Fund, Ltd.,
   493 F.3d 87 (2d Cir. 2007) ..........................................................................................................3
Barr v. Abrams,
  810 F.2d 358 (2d Cir. 1987) .........................................................................................................5
Barret v. U.S.
  798 F.2d 565 (2d Cir. 1986) ..................................................................................................... 4-5
Bell Atl. Corp. v. Twombly,
  550 U.S. 544, 570 (2007) ......................................................................................................... 2-3
Berie v. Stevenson,
  5:18-cv-00119 (BKS/TWD), 2019 WL 1017317 *5 (N.D.N.Y. March 4, 2019) ......................16
Brady v. Maryland,
   373 U.S. 83 (1963) .................................................................................................................5,11
Buckley v. Fitzsimmons,
  509 U.S. 259 (1993) .............................................................................................................. 4,6-8
Burns v. City of New York,
  181 A.D.3d 554 (2d Dept. 2020) .......................................................................................... 15-16
Colon v. City of New York,
  60 N.Y.2d 78 (N.Y. 1983) ..........................................................................................................18
Curley v. Village of Suffern,
  268 F.3d 65 (2d Cir. 2001) .........................................................................................................16
Davis-Guider v. City of Troy,
  No. 23-589, 2024 WL 5199294 (2d Cir. Dec. 23, 2024)............................................................18
Dory v. Ryan,
  25 F.3d 81 (2d Cir. 1994) ........................................................................................................5,10
Elias v. Rolling Stone LLC,
  872 F.3d 97 (2d Cir. 2017) ...........................................................................................................2
Girard v. 94th Street and Fifth Ave. Corp.,
  530 F.2d 66 (2d Cir. 1976) .........................................................................................................22
Harlow v. Fitzgerald,
  457 U.S. 800 (1992) ...................................................................................................................13
Herrmann v. Moore,
  576 F.2d 453 (2d Cir. 1978) .......................................................................................................22
Hill v. City of New York,
  45 F.3d 653 (2d Cir. 1995) ......................................................................................................5,10
                                                                    ii
Hunter v. Bryant,
  502 U.S. 224 (1991) ...................................................................................................................13
Imbler v. Pachtman,
  424 U.S. 409 (1976) ............................................................................................... 3-5,7, 9-10, 12
Johnson v. Town of Colonie,
  102 A.D.2d 925 (3d Dept 1984) ......................................................................................... 3-4, 18
Kalina v. Fletcher,
  522 U.S. 118 (1997) ................................................................................................................4,12
Kanciper v. Lato,
  989 F. Supp. 2d 216, 233 (E.D.N.Y. 2013) ................................................................................18
Komatsu v. City of New York,
  No. 20-cv-7046 (ER), 2021 WL 3038498 (S.D.N.Y. July 16, 2021).........................................20
Koulina v. City of New York,
  06-cv-11356(SHS) 2009 WL 210727 (S.D.N.Y. 2009) .............................................................19
Lawlor v. Connelly,
  471 Fed. Appx. 64 (2d Cir. 2012)........................................................................................ 4,9-10
Lennon v. Miller,
  66 F.3d 416 (2d Cir. 1995) .........................................................................................................13
Loria v. Gorman,
  306 F.3d 1271 (2d Cir. 2002) .....................................................................................................16
Martinez v. Simonetti,
  202 F.3d 625 (2d Cir. 2000) .......................................................................................................16
Mitchell v. Forsyth,
  472 U.S. 511 (1985) ...................................................................................................................13
Newton v. City of New York,
  566 F.Supp.2d 256 (S.D.N.Y. 2008) ............................................................................................7
Pani v. Empire Blue Cross Blue Shield,
  152 F.3d 67 (2d Cir. 1998) .........................................................................................................15
People v. Lancaster,
  69 N.Y.2d 20 (Ct App. 1986) .....................................................................................................19
Pinaud v. County of Suffolk,
  52 F.3d 1139 (2d Cir. 1995) .................................................................................................4,8,18
Pinter v. City of New York,
  448 Fed. Appx. 99 (2d Cir. 2011)...............................................................................................21
Sanders v. City of Saratoga Springs,
  691 F. Supp. 3d 548 (N.D.N.Y. 2023)........................................................................................22
Saucier v. Katz,
  533 U.S. 194 (2001) ...................................................................................................................13
Schnitter v. City of Rochester,
  931 F.Supp.2d 469 (W.D.N.Y. 2013) ...........................................................................................7
Schultes v. Kane,
  50 A.D.3d 1277 (3d Dept 2008) .................................................................................................23
Stein v. Disciplinary Bd. of Supreme Court of New Mexico,
  520 F.3d 1183 (10th Cir. 2008) ....................................................................................................7
Thompson v. Kline,
  504 F. Supp. 3d 200 (W.D.N.Y. 2020) .......................................................................................22

                                                                   iii
Van de Kamp v. Goldstein,
 555 U.S. 335 (2009) ...............................................................................................................5, 12
Warney v. Monroe County,
 587 F.3d 113 (2d Cir. 2009) ....................................................................................................5,10
Wyllie v. District Atty. of County of Kings,
 2 A.D.3d 714 (2d Dept 2003) .....................................................................................................23
Ying Jing Gan v. City of New York,
 996 F.2d 522 (2d Cir. 1993) .........................................................................................................4
Ying Li v. City of New York,
 246 F.Supp.3d 578 (E.D.N.Y. 2017) ..........................................................................................18

Rules

Fed. R. Civ. P. 12(b) ........................................................................................................................2




                                                                     iv
                               PRELIMINARY STATEMENT

        Defendant Alyssa Congdon (hereinafter “Ms. Congdon” or “defendant”) moves pursuant

to Fed. R. Civ. Pro. 12 (b)(6) to dismiss plaintiff Yaron Kweller (hereinafter “plaintiff”)

Complaint (Dkt. 1) for failure to state a claim upon which relief may be granted. The complaint

fails to sufficiently plead that defendant committed any constitutional violations against plaintiff.

Nor does it state a claim for any of the state law claims asserted. Further, as a prosecutor,

defendant is protected by both absolute and qualified immunity, which shield her from all claims

in this action.

        Plaintiff’s lawsuit follows an unsuccessful criminal prosecution in which, following

allegations of sexual crimes by defendants Samantha Herceg and Hailey Demkovich (hereinafter

collectively referred to as the “criminal complainants” or “complaining witnesses”), he was

charged by indictment with various offenses arising out of an alleged sexual assault he

perpetrated along with two other men, his brother Leor Kweller and Jordan Rindgen. Ultimately,

only plaintiff and Mr. Rindgen were brought to trial, and both were acquitted. Plaintiff followed

his acquittal with this lawsuit, which reasons from the dubious premise that, if the jury acquitted

him, he has been proven to have not done the things he was accused of doing (ignoring that the

jury may have simply believed that the burden of beyond a reasonable doubt had not been met).

Reasoning therefrom, he now argues that every act taken along the way – the criminal

investigation, his charging and arrest, his indictment, and his trial – were all part of an

unconstitutional miscarriage of justice orchestrated by the named defendants, including Ms.

Congdon.

        Under the theory that he was wrongfully suspected, investigated, charged, indicted and

tried, plaintiff alleges variously that defendant is liable for false arrest and malicious prosecution,


                                                  1
failing to intervene to prevent said arrest and prosecution, conspiring with other defendants to

cause such arrest and prosecution, and, as a result, intentionally or negligently inflicting

emotional distress upon him.

        Even accepting, as defendant must at this stage, everything plaintiff contends in his

complaint as fact, every cause of action alleged by plaintiff is subject to dismissal under the

doctrine of prosecutorial immunity. Prosecutorial immunity protects public servants for doing

their jobs, and the principle allows that prosecutors may do that job imperfectly, yet still be

protected. The protection of prosecutorial immunity does not depend on whether the prosecutor

is a skilled prosecutor or an inept one. Were that the case, anytime a criminal defendant was

acquitted, there would be litigation over whether a prosecutor had done the job properly.

Prosecutorial immunity exists to ensure that prosecutors may pursue cases without fear that

every failure to secure a conviction will mean a lawsuit. As a result of that immunity, no viable

claims lie under the facts stated in plaintiff’s complaint and, accordingly, it should be dismissed

in its entirety.

                                    STATEMENT OF FACTS

        For purposes of defendant’s motion to dismiss, defendant accepts, arguendo, the factual

allegations set forth in plaintiff’s complaint.

                                    STANDARD OF REVIEW

        On a motion to dismiss under F.R.C.P. 12(b)(6), the Court must take “all factual

allegations in the complaint as true and draw all reasonable inferences in the plaintiff's favor.”

Elias v. Rolling Stone LLC, 872 F.3d 97, 104 (2d Cir. 2017). A motion to dismiss pursuant to

Rule 12(b)(6) does not lie if a plaintiff failed to allege “enough facts to state a claim to relief that

is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); see also


                                                   2
Ashcroft v. Iqbal, 556 U.S. 662, 697 (2009). “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. at 678. This plausibility standard

“is not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a

defendant has acted unlawfully.” Id. In this respect, to survive dismissal, a plaintiff need only

“provide the grounds upon which his claim rests through factual allegations sufficient ‘to raise a

right to relief above the speculative level.’” ATSI Commc'ns, Inc. v. Shaar Fund, Ltd., 493 F.3d

87, 98 (2d Cir. 2007) (quoting Bell Atl. Corp. v. Twombly, 440 U.S. at 555). The process of

determining whether a plaintiff has “nudged [his] claims ... across the line from conceivable to

plausible” entails a “context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Ashcroft v. Iqbal, 556 U.S. at 679-80.

       As discussed below, plaintiff has not met the requisite standard as to any claim and,

therefore, the complaint must be dismissed in its entirety.

                                          ARGUMENT

I.     PLAINTIFF’S CLAIMS ARE BARRED BY ABSOLUTE PROSECUTORIAL
       IMMUNITY.

       As an Assistant District Attorney in Broome County District Attorney’s Office

(hereinafter “BCDAO”) during the events referenced in the Complaint, defendant is protected by

absolute prosecutorial immunity. All claims against her should accordingly be dismissed.

       It is well established that prosecutors are absolutely immune from liability for their

conduct in “initiating a prosecution and presenting the State’s case” where that conduct is

“intimately associated with the judicial phase of the criminal process.” Imbler v. Pachtman, 424

U.S. 409, 431 (1976); see Johnson v. Town of Colonie, 102 A.D. 925, 925 (3d Dept 1984)

(“Actions performed by the prosecutor which are associated with the prosecutorial phase of the

                                                 3
criminal process are deemed quasi-judicial in nature and invoke the doctrine of absolute

immunity to bar civil liability for such action, even if it be assumed that such actions were done

maliciously.”); see also Buckley v. Fitzsimmons, 509 U.S. 259, 273 (1993) (holding that the

“acts undertaken by a prosecutor for the initiation of judicial proceedings or for trial, and which

occur in the course of his role as an advocate for the State, are entitled to the protections of

absolute immunity.”). Prosecutorial immunity “encompasses not only their conduct of trials but

all of their activities that can be fairly characterized as closely associated with the conduct of

litigation or potential litigation.” See Barret v. U.S. 798 F.2d 565, 571-72 (2d Cir. 1986).

       Critically, “the extent of the immunity always depends upon the nature of the activity in

question and not upon how wrongly particular actors may have performed that activity in a

specific instance.” Pinaud v. County of Suffolk, 52 F.3d 1139, 1150 (2d Cir. 1995). This includes

deciding what charges to bring against a defendant (see Ying Jing Gan v. City of New York, 996

F.2d 522, 530 [2d Cir. 1993]); “the professional evaluation of the evidence assembled by the

police and appropriate preparation for its presentation at trial or before a grand jury after a

decision to seek an indictment has been made” (Buckley, 509 U.S. at 273); the presentation of

evidence to a grand jury to initiate a prosecution (see Barret, 789 F.2d at 571-72); the preparation

of witnesses and evidence for trial (see Kalina v. Fletcher, 522 U.S. 118, 126-27 [1997]); and

even the presentation of perjured testimony (see Imbler, 424 U.S. 409).

       Furthermore, it is well settled in this Circuit and in New York State that a district attorney

has absolute immunity from a malicious prosecution claim. See Pinaud, 52 F.3d at 1149;

Johnson, 102 A.D.2d at 925. The doctrine is quite broad. The law is clear that a prosecutor’s

failure to disclose exculpatory material is protected by absolute immunity. See Lawlor v.

Connelly, 471 Fed. Appx. 64, 65 (2d Cir. 2012) (holding that the Second Circuit has repeatedly


                                                 4
held that a prosecutor is immune from liability under § 1983 for withholding exculpatory

evidence from a grand jury); Warney v. Monroe County, 587 F.3d 113, 125 (2d Cir. 2009)(“if

the prosecutors had tested all the evidence, and then sat on the exculpatory results for at least 72

days, they may well have violated Brady v. Maryland, 373 U.S. 83 [1963], but they would be

absolutely immune from personal liability”); Hill v. City of New York, 45 F.3d 653, 661 (2d Cir.

1995); Dory v. Ryan, 25 F.3d 81, 83 (2d Cir. 1994). Additionally, absolute immunity attaches to

conspiracies to present false evidence at trial and in grand jury settings. See Dory, 25 F.3d at 83.

       The Supreme Court recognized that “[prosecutorial] immunity does leave the genuinely

wronged defendant without civil redress against a prosecutor whose malicious or dishonest

action deprives him of liberty,” but “the ultimate fairness of the operation of the [criminal

justice] system itself could be weakened by subjecting prosecutors to § 1983 liability.” Imbler,

424 U.S. at 425-26.        Public policy militates that a prosecutor’s vigorous and fearless

performance of her duties is not stymied by weighing the consequences of each decision in terms

of her own potential liability. Id. Otherwise, prosecutors “might hesitate to bring forward some

witnesses or documents for fear that the proof might turn out to be false, subjecting them to

liability.” Barret v. U.S. 789 F.2d at 572 (internal citations and quotations omitted).

       Absolute immunity is limited to instances where a prosecutor is acting as “an officer of

the court” and does not attach when a prosecutor is engaging in other work, such as investigative

or administrative tasks. See Van de Kamp v. Goldstein, 555 U.S. 335, 342 (2009). In such a

case, however, prosecutors remain protected by the shield of qualified immunity. Id. Similarly,

prosecutors need only rely on qualified immunity when they “act without a colorable claim of

authority” or “proceed in the clear absence of jurisdiction.” Barr v. Abrams, 810 F.2d 358, 361

(2d Cir. 1987).


                                                  5
       Preliminarily, it is important to note that this complaint is devoid of any allegation that

defendant acted outside her role as an advocate of the State. See Buckley 509 U.S. at 273. On

the contrary, plaintiff expends much ink complaining that defendant performed prosecutorial

duties but without the requisite guidance or knowledge as to how to handle the criminal

proceedings brought against him. Dkt. 1 at ¶¶ 104-109, 117-133, 150-159, 166. In short,

plaintiff’s main complaint is that defendant was an inept prosecutor. In fact, these main

allegations serve as the basis for plaintiff’s Fourth, Fifth, and Eleventh causes of action for 42

U.S. § 1983 supervisory liability and Monell claims, and state law claims sounding in respondeat

superior. See Dkt. 1 ¶¶ 221-242, 290-294. Thus, as pleaded, plaintiff concedes that defendant’s

complained-of conduct is prosecutorial in nature and, as such, is therefore shielded by absolute

prosecutorial immunity.

       To be sure, each perceived error defendant is alleged to have committed is also

independently protected by absolute immunity, or is otherwise irrelevant. From what can best be

discerned from plaintiff’s complaint, the particular factual allegations concerning defendant’s

alleged failings falls into four general categories: her evaluation of the evidence against plaintiff

and subsequent decision to initiate criminal proceedings (Dkt. 1 ¶¶ 65-88, 104-187), presentation

of the criminal case to the grand jury (Dkt. 1 ¶¶ 154-162, 172), the alleged withholding of

exculpatory evidence defense counsel (Dkt. 1 ¶¶ 124, 142-43, 155, 159, 162), and her

preparation of complaining witnesses (Dkt. 1 ¶¶ 66, 112). All of this conduct is plainly the type

of protected conduct which defendant engaged in as an officer of the court and which,

accordingly, falls under the protections of absolute prosecutorial immunity.

   A. Defendant’s Decision to Pursue Criminal Charges Following Her Evaluation of the
      Evidence Gathered Is Protected by Absolute Immunity.

       Defendant’s decision to file criminal charges after an evaluation of the evidence gathered

                                                 6
– including the criminal complainants’ police reports and testimony (Dkt. 1 ¶ 69), text messages

provided by the criminal complainants (Dkt. 1 ¶¶ 72-73) and the video surveillance plaintiff and

his criminal co-defendants provided BCDAO (Dkt. 1 ¶80) – is a quintessential prosecutorial task

and not subject to liability under Imbler and its progeny, even without the full forensic material

from the complainants’ phones. Dkt 1 ¶¶ 104-147.

       More generally, plaintiff claims liability attaches for defendant’s failure to conduct a

“constitutionally adequate investigation,” 1 in that she and her co-defendants essentially

disregarded “evidence clearly demonstrating that Mr. Kweller did not rape Defendant

Demkovich or Defendant Herceg.” Dkt. 1 ¶ 194. Ignoring for the purposes of this motion the

circular nature of this reasoning, and although plaintiff drafts his claim in terms of an alleged

failure to conduct a thorough investigation, that does not render the complained-of conduct

“investigatory” in nature. Plaintiff's claims in actuality rest squarely on a prosecutor’s decision to

bring criminal charges against him, and that is a prosecutorial task. Schnitter v. City of

Rochester, 931 F.Supp.2d 469, 474 (W.D.N.Y. 2013); Stein v. Disciplinary Bd. of Supreme

Court of New Mexico, 520 F.3d 1183, 1194 (10th Cir. 2008), citing Buckley, 509 U.S. at 273.

       Plaintiff’s complaint about the investigation of him (as concerns defendant) appear

mainly rooted in defendant’s decision to wait for the complaining witnesses to consent to a

search of their phones, and her determination that there was sufficient evidence to charge

plaintiff criminally and continue the prosecution once the forensic evidence of the cellphones

was retrieved. Dkt. 1 ¶¶ 120, 124, 148, 163-173. Plaintiff also alleges that defendant’s failure to



1Defendant has been unable to locate any law or reported cases that define a right to, or describe
the contours of, a “constitutionally adequate investigation.” The suggestion that this supposed
principle supports a cause of action is false. Courts have repeatedly noted that “there is no
constitutional right to an adequate investigation.” Newton v. City of New York, 566 F.Supp. 2d
256, 278 (S.D.N.Y. 2008).
                                                  7
retrieve printouts of electronic data from the complainants’ cellphones, which were in possession

of their private attorney (hereinafter “the Saitta Folder”), supports of a finding of liability, mainly

because – in plaintiff’s view – a jury ultimately used these materials to acquit plaintiff of all

charges. Dkt. 1 ¶¶ 117-119. 2

        In all these acts, defendant was acting in her capacity as a prosecutor. As the cases

discussed above make clear, it does not matter whether defendant’s prosecutorial actions were

ultimately correct or incorrect, made in good faith or bad, whether a jury ultimately determined

that the cellphone contents were exculpatory, or even that plaintiff was acquitted. It also does

not matter if plaintiff was wrongly accused. Instead, the only question is whether the nature of

the activity in question falls within the ambit of prosecutorial duties. See Pinaud, 52 F.3d at

1150.    Clearly, defendant’s complained-of conduct can only be “characterized as closely

associated with the conduct of litigation” and her professional evaluation of the evidence. See

Barret, 789 F.2d at 571-72; see also Buckley, 509 U.S. at 273. Thus, defendant is protected by

absolute immunity for initiating criminal proceedings against plaintiff on the evidence gathered,

and continuing the prosecution even after the contents of the complaining witnesses’ cellphones

were retrieved.

    B. Defendant’s Conduct During Grand Jury Presentation Is Protected by Absolute
       Immunity.

        Plaintiff expressly asserts that defendant withheld exculpatory evidence from the grand

jury (Dkt. 1 ¶ 155), and impliedly alleges that she knowingly presented perjured testimony to the

grand jury (Dkt. 1 ¶¶ 150, 155, 172, 265). 3 Even drawing all reasonable inferences in plaintiff’s



2
         Plaintiff does not claim to have any special knowledge about the secret workings of the
trial jury or the trial jurors’ beliefs, and this claim appears to be purely speculative.
3
         Again, plaintiff appears to reason that, because he was acquitted, defendant presented
perjured testimony by permitting the criminal complainants to testify before the grand jury.
                                                  8
favor, defendant is shielded by absolute immunity for the complained-of conduct. See Lawlor,

471 Fed. Appx. at 65; see also Imbler, 424 U.S. 409.

       Plaintiff offers no more than conclusory allegations to support such claims, which are not

entitled to the assumption of truth. See Ashcroft, 556 U.S. 662. Specifically, plaintiff alleges

that “at some point during the investigation or prosecution, defendant Demkovich informed

defendant Congdon and others at the BCDAO that she never said ‘no’ or physically resisted any

sex acts” and this information was kept from the grand jury.” Dkt. 1 ¶ 150, 155, 172. It appears

that plaintiff learned this information after reviewing defendant Demkovich’s phone (Dkt. 1

¶172) and conveniently reproduced what he considers the most troubling messages in the

complaint. Dkt. 1 ¶¶ 68-a-ff.

       It is certainly unclear – after scouring not only the messages reproduced in plaintiff’s

complaint but the entire document itself – what factual basis plaintiff relies on to assert that

Defendant had first-hand knowledge of this information. Nor does plaintiff allege that defendant

was provided said information before presenting the criminal case to the grand jury. Further,

plaintiff fails to allege that Demkovich ever told defendant that she was not sexually assaulted,

and it is well known that saying neither saying “no,” nor physical resistance, is required to prove

sexual assault. However, even putting a lot of that to the side, the most liberal reading of the

complaint demonstrates these statements were made only to defendant Binghampton Police

Department (hereinafter “BPD”), and no recording of them was made. Dkt. 1 ¶75. In the specific

text exchange is produced in ¶ 68-w of the Complaint, plaintiff avers that defendant Demkovich

made this statement to BPD, not Defendant. 4 Even crediting these unsubstantiated, self-serving




4
       Dkt. 1 ¶ 68-w reads: “December 28, 2021 – Defendant Demkovich to her mother: “I told
them [BPD] the next day I was questioning if what happened to me was actually rape . . . .” but
                                                9
allegations, a moment of voiced self-doubt by a complaining witness does not equate to a

conspiracy to violate a criminal defendant’s civil rights.

       Still, even were the Court to find plaintiff properly alleged defendant failed to present this

purported exculpatory evidence to the grand jury and knew the testimony was perjured, she is

protected by absolute immunity. See Imbler, 424 U.S. 409; Lawlor, 471 Fed. Appx. at 65.

Nevertheless, immunity aside, plaintiff’s pleadings do not make out a factual case against

defendant.

   C. Defendant’s Alleged Withholding of Exculpatory Evidence from Plaintiff’s Criminal
      Defense Counsel Is Protected by Absolute Immunity.

       It appears that plaintiff accuses defendant of withholding exculpatory evidence from

defense counsel, in the form of text messages discovered in the forensic contents of the

complainants’ cell phones and the Saitta Folder where the complainants discuss, among other

things, whether the sexual contact was consensual (Dkt. 1 ¶¶ 155, 159, 162), DNA test results

(Dkt. 1 ¶¶ 155, 159, 162), and the alleged statements the complainants made to BPD and/or

defendant, discussed above in Point II-B (Dkt. 1 ¶ 68-w, 75, 150, 155, 172). Once again, to the

extent that plaintiff properly alleges such withholding, a prosecutor is immune from liability for

withholding exculpatory evidence. See Lawlor, 471 Fed. Appx. at 65; Warney, 587 F.3d at 125;

Hill, 45 F.3d at 661; Dory, 25 F.3d at 83.

       Apart from the claims relating to the DNA evidence, the remainder of plaintiff’s

arguments relating to the alleged withholding of exculpatory evidence stem from the forensic

extraction of the complainants’ phones months after plaintiff was criminally charged. In sum,

plaintiff complains of defendant’s decision to wait until the criminal complainants consented to a



does not allege any facts to connect that defendant Demkovich’s reference to “them” was
actually BPD.
                                                 10
forensic extraction and asserts defendant was wrong not to take steps to preserve or retrieve the

material when plaintiff first insisted that “he felt certain that their electronic data would

exonerate him of any wrongdoing” (simply because the complainants used their phones on the

night in question). Dkt. 1 ¶¶ 64-65, 110, 124, 142-43. Plaintiff seemingly employs the circular

argument that, because a jury found the cellphone material exculpatory, defendant had a duty to

retrieve the material, or at the very least preserve it, and to confirm whether it corroborated the

complainants’ sexual abuse claims. Plaintiff uses the same logic to claim defendant had a duty to

retrieve the so-called Saitta Folder and produce it to his defense counsel, because he alleges it

contained “numerous exculpatory and impeaching text messages.” (Dkt. 1 ¶ 119-e). According

to plaintiff, defendant’s failure to do so was withholding exculpatory evidence because the

messages were subject to disclosure under Brady and Giglio. Dkt. 1 ¶¶ 105.

       If followed, this logic would otherwise create a new, absolute duty for prosecutors, who

may already have enough evidence to support that a crime has been committed, to also seek

evidence of a suspect’s innocence. As discussed above in Point I-A, a prosecutor is entitled to

absolute immunity for their evaluation of evidence and is to be free from the threat of litigation

should a jury not agree with the assessment. Accordingly, plaintiff’s alleged inadequacies in

defendant’s decision to wait until the criminal complainants consented to a full forensic phone

evaluation and any failure to retrieve the Saitta Folder, in a particular time frame is protected.

Furthermore, to the extent that plaintiff adequately pleaded sufficient facts to support an

assertion that the phone extraction was a gold mine of exculpatory material (as the complaint

implies), and that defendant did, in fact, withhold said material, she is nonetheless shielded by

absolute immunity.

   D. Defendant’s Alleged Preparation of Witnesses Is Protected by Absolute Immunity


                                                11
          Plaintiff avers that “Defendant Herceg ultimately testified at the criminal trial in this

matter that she was instructed to destroy electronic data relating to the night in question by

defendant Congdon . . . and she did in fact destroy that evidence.” Dkt. 1 ¶ 66. Plaintiff later

clarifies that it was only social media accounts that defendant is said to have instructed defendant

Herceg to delete. Dkt. 1 ¶ 112. 5 Tellingly, plaintiff does not state when this alleged instruction

occurred, but strategically sandwiches it between two paragraphs that do include dates,

presumably to get the reader to conclude it occurred between December 14, 2021 and December

22, 2021. Dkt. 1 ¶¶ 111-113. A liberal reading of the complaint makes clear, however, that this

allegedly occurred later during a meeting between defendant and defendant Herceg in

preparation for the ultimate trial that occurred. Accordingly, even viewing the allegations in the

light most favorable to plaintiff, defendant is protected by absolute immunity for her preparation

of defendant Herceg, a witness who testified at plaintiff’s trial. See Kalina, 522 U.S. at 126-27.

    II.      TO THE EXTENT ANY OF DEFENDANT’S ALLEGED CONDUCT IS NOT
             ENCOMPASSED BY ABSOLUTE IMMUNITY, QUALIFIED IMMUNITY
             BARS ANY AND ALL REMAINING CLAIMS BY PLAINTIFF.

          To the extent that plaintiff’s complaint may be read to allege conduct by defendant that

occurred when defendant was “not acting as ‘an officer of the court,’ but [wa]s engaged in other

tasks, say, investigative or administrative tasks,” (Van de Kamp, 555 U.S. at 342, citing Imbler,

424 U.S.. at 431 n.33), qualified immunity mandates the dismissal of the claims against her.

Qualified immunity, like absolute immunity, is not merely a defense, but rather is also “an



5
        It is important to highlight that the allegations contained in the complaint read in a
manner that easily invites the reader to conclude that defendant also instructed defendant Herceg
to obtain and new phone and a new iCloud account before she ultimately consenting to allow a
forensic extraction to be conducted on her phone. See generally Dkt. 1; ¶ 171. The only specific
allegation pleaded relates to an alleged instruction to delete social media accounts. Dkt. 1 ¶ 112.
Further, plaintiff does not claim the allegedly destroyed material had any evidentiary value or
that he was in any way harmed by such alleged instruction.
                                                 12
entitlement not to stand trial or face the other burdens of litigation.” Mitchell v. Forsyth, 472

U.S. 511, 526 (1985). As with absolute immunity, the availability of qualified immunity should

similarly be decided by a court at the “earliest possible stage in litigation.” Hunter v. Bryant, 502

U.S. 224, 227 (1991).

         Qualified immunity shields government officials from performing discretionary

functions, like investigative functions, for “liability for civil damages insofar as their conduct

does not violate clearly established statutory or constitutional rights of which a reasonable person

would have known.” Harlow v. Fitzgerald, 457 U.S. 800 (1992). It is well established that an

“objectively reasonable” standard is used to make sure determination. Id. Further, under the

qualified immunity analysis, “officers can have reasonable, but mistaken beliefs as to probable

cause . . . and in those situations courts will not hold that they have violated the Constitution.”

Saucier v. Katz, 533 U.S. 194, 205 (2001); see also Lennon v. Miller, 66 F.3d 416, 423 (2d Cir.

1995).

         Here, insofar as plaintiff’s allegations may include allegations that relate to

administrative or investigative acts, plaintiff complains that defendant: attended an investigative

meeting and discussed the complaining witnesses’ cell phones and assigned defendant to “the

investigation” (Dkt. 1 ¶¶ 106-108); that defendant, along with other named defendants, met with

the complaining witnesses about their cell phones (Dkt. 1 ¶ 111); was informed of text message

printouts from the complaining witnesses cell phones in the possession of their private attorney

and directed that they be picked up by the BCDAO’s investigator (Dkt. 1 ¶¶ 117-118); continued

thereafter to try to get consent from the complaining witnesses to extract data from their cell

phones (Dkt. 1 ¶ 120); attempted to draft a search warrant for a buccal swab to obtain plaintiff’s

DNA (Dkt. 1 ¶ 122); failed to correct reports in the media about the case (Dkt. 1 ¶ 126), and


                                                 13
determined, in concert with police, that plaintiff should be charged and arrested (Dkt. 1 ¶¶ 133-

134).

        Most of these allegations are not affirmative acts that can be said to fall outside of the

protections of absolute prosecutorial immunity or are innocuous and not actionable on their face.

Attending a meeting with police and other members of the BCDAO to discuss an investigation,

for example, is protected as a primary prosecutorial duty, and in any event, plaintiff – other than

the existence at that point of any investigation into his conduct – does not complain that the

meeting violated clearly established constitutional norms. Obviously, such meetings would be

typical at the outset of any criminal investigation. Similarly, directing an investigator to pick up

evidence and drafting search warrants for law enforcement are not actions which violate

established constitutional norms.

        Moreover, to the extent that plaintiff’s complaint can be generously read to allege that

defendant improperly directed police to arrest plaintiff, even on plaintiff’s own facts it was

objectively reasonable for a prosecutor like defendant to believe that there was probable cause to

believe plaintiff committed the crimes charged. Dkt. 1 ¶ 139. According to the allegations in

plaintiff’s complaint, the criminal complainants had filed a police report the day after the night in

question and gave sworn testimony that they were sexually assaulted by plaintiff and his criminal

co-defendants. Dkt. 1 ¶¶ 69-72. They were interviewed by defendant Binghampton Police

Department (“BPD”) and underwent forensic rape exams. Dkt. 1 ¶¶ 71, 161-a. They also

provided BPD with photographs and text messages from the night in question, establishing that

they were, in fact, with the men, including plaintiff, who they said had sexually assaulted them.

Dkt. 1 ¶ 72. Plaintiff and his criminal co-defendants also submitted surveillance footage of the

night in question that confirmed the parties had been together and, insomuch as plaintiff claims


                                                 14
these videos absolved him of any liability, no cameras were present in the immediate area where

the complainants claim the assault occurred. Dkt. 1 ¶¶ 43-52; 80-81. Accordingly, reasonable

and trustworthy information was abundantly present for defendant to determine, or at a minimum

to mistakenly determine, that probable cause existed to initiate and continue to pursue criminal

charges against plaintiff.

          The affirmative defense of qualified immunity may be decided on a 12(b)(6) motion to

dismiss the complaint if the defense appears on the face of the complaint. Pani v. Empire Blue

Cross Blue Shield, 152 F.3d 67, 74 (2d Cir. 1998). Here, the qualified immunity issue can be

resolved on the face of the complaint, as it identifies the salient, relevant, facts known to

defendant. Moreover, the criminal complainants were steadfast in their claims that plaintiff and

his criminal co-defendants sexually abused them, and a prosecutor is entitled to believe their

victims. Thus, qualified immunity insulates defendant from any allegations in this action not

squarely covered by absolute immunity (of which defendant claims there are none).

          Although defendant contends that prosecutorial immunity shields her from all of

plaintiff’s causes of action, each cause of action is discussed below, briefly.

   III.      PLAINTIFF’S FIRST AND EIGHTH CAUSES OF ACTION MUST BE
             DISMISSED.

          Plaintiff’s first cause of action alleges defendant violated his constitutional rights to be

free from false arrest and malicious prosecution. Dkt. 1 ¶¶ 191-197. Plaintiff’s eighth cause of

action alleges the same causes of actions under New York State law. Dkt. 1 ¶¶ 267-280. The

existence of probable cause is a complete defense to both false arrest and malicious prosecution

claims, whether brought under state or federal law. See Arzeno v. Mack, 39 A.D.3d 341, 341 (1st

Dept 2007); see also Burns v. City of New York, 181 A.D. 3d 554, 555 (2d Dept 2020).



                                                  15
   A. False Arrest Claim

       “A § 1983 claim for false arrest is substantially the same as a claim for false arrest under

New York law.” Berie v. Stevenson, 2019 WL 1017317 *5 (N.D.N.Y. March 4, 2019). To

succeed on such a claim, plaintiff must establish “(1) the defendant intended to confine him, (2)

plaintiff was conscious of the confinement, (3) the plaintiff did not consent to the confinement,

and (4) the confinement was not otherwise privileged.”

       In the context of false arrest claims, “probable cause does not require proof sufficient to

warrant a conviction beyond a reasonable doubt but merely information sufficient to support a

reasonable belief that an offense has been [committed] or is being committed by the suspected

individual, and probable cause must be judged under the totality of the circumstances.” Burns,

181 A.D.3d at 554. In evaluating probable cause, courts consider the facts available at the time

of the arrest. See Martinez v. Simonetti, 202 F.3d 625, 635 (2d Cir. 2000). “When information is

received from a putative victim or an eyewitness, probable cause exists, unless circumstances

raise doubt as to the person’s veracity.” Curley v. Village of Suffern, 268 F.3d 65, 70 (2d Cir.

2001). A prosecutor “may rely on a complaint to establish probable cause and cannot be held

liable for a constitutional violation simply because the complaint turns out to be false.” Loria v.

Gorman, 306 F.3d 1271, 1289 (2d Cir. 2002).

       Here, the facts alleged in the complaint demonstrate that plaintiff’s arrest was supported

by ample, constitutionally adequate probable cause. Accordingly, and for all the reasons below,

the false arrest claims in Counts One and Eight of the complaint must be dismissed as a matter of

law.

       As noted above, the criminal complainants filed a police report, gave sworn testimony

that they were sexually assaulted by plaintiff and his criminal co-defendants, underwent forensic


                                                16
rape exams, and provided evidence that corroborated that they were with plaintiff and his

criminal codefendants on the night in question. Dkt. 1 ¶ 69-72, 161-a. Accordingly, reasonable

and trustworthy information existed for defendant to determine that, at a minimum, arguable

probable cause existed to arrest plaintiff. Thus, plaintiff’s claims that he was prosecuted without

constitutionally sufficient probable cause are belied by his own allegations.

       Notwithstanding the above, plaintiff alleges that BPD’s initial investigation uncovered

many reasons to doubt the complainants’ veracity and reliability to undercut any probable cause

established, including surveillance footage of the complainants leaving the establishment where

they claimed to be sexually abused. Dkt. 1 ¶¶ 37-40, 43-52, 83-87. Plaintiff does not allege the

existence of footage of the area in which the sexual abuse was alleged to have occurred, nor does

he claim it was provided or otherwise in the possession of defendant. Instead, he asserts that this

video of arrival and departure was sufficient to undercut the sworn testimony that the criminal

complainants were sexually abused in the Washington Street office. Dkt. 1 ¶¶ 41-51, 54-63, 80-

85. Defendant was free to dismiss these contentions when she weighed the evidence and

determined to initiate criminal proceedings.

       Plaintiff also claims that text messages between defendant Demkovich and her mother on

December 28, 2021, in which defendant Demkovich states she told “them” that she was

questioning whether she was, in fact, raped, undercut the complainants’ sex abuse allegations

that provided the probable cause to arrest plaintiff. Dkt. 1 ¶¶ 68-w, 69-87. Even assuming,

arguendo, that defendant somehow knew of such statement, voicing self-doubt does not

automatically negate the veracity of sexual abuse allegations and is actually a common

occurrence as victims come to terms with having been sexually assaulted. Accordingly, and for

all the reasons above, the existence of probable cause precludes plaintiff’s false arrest claim.


                                                 17
    B. Malicious Prosecution Claim

         As detailed above in Point I supra, absolute prosecutorial immunity shields defendant

from liability arising from a malicious prosecution claim. See Pinaud, 52 F.3d at 1149; Johnson,

102 A.D.2d at 925. Notwithstanding, such claims are also meritless for the reasons below.

         “In order to prevail on a § 1983 claim against a state actor for malicious prosecution, a

plaintiff must show a violation of his rights under the Fourth Amendment and must establish the

elements of a malicious prosecution claim under state law.” Davis-Guider v. City of Troy, No. 23-

589, 2024 WL 5199294 at *2 (2d Cir. Dec. 23, 2024). Under New York state law, “a plaintiff

must prove (1) the initiation or continuation of a criminal proceeding against plaintiff; (2)

termination of the proceeding in plaintiff's favor; (3) lack of probable cause for commencing the

proceeding; and (4) actual malice as a motivation for defendant's actions.” Id. (internal citations

and quotations omitted).

         Probable cause to prosecute consists of facts and circumstances that would lead a

reasonably prudent person to believe the plaintiff is guilty. Ying Li v. City of New York, 246

F.Supp.3d 578, 611 (E.D.N.Y. 2017) (internal citations omitted). A grand jury indictment gives

rise to a presumption of probable cause in both federal and state cases. See Kanciper v. Lato, 989

F. Supp. 2d 216, 233 (E.D.N.Y. 2013) (citing Colon v. City of New York, 60 N.Y.2d 78, 82 (N.Y.

1983). The presumption may be overcome by evidence of misrepresentation or falsification of

evidence before a grand jury. Abdul-Aziz v. City of New York, 56 A.D.3d 291, 292 (1st Dept

2008).   In Abdul-Aziz, the prosecutor was accused of procuring an indictment by fraud or

suppression by failing to disclose certain information the plaintiff considered exculpatory. Id.

The court reiterated therein that, even accepting the misconduct complained as true, “there is no

requirement that the prosecution disclose to the grand jury all evidence in its possession that is


                                                18
favorable to the accused even though such information undeniably would allow the grand jury to

make a more informed determination” and swiftly dismissed the malicious prosecution claim. Id.

(citing People v. Lancaster, 69 N.Y2d 20, 25-26 [Ct App. 1986]).

          For the reasons discussed above in Point II-A supra, the facts pleaded in plaintiff’s

complaint do not rebut the presumption of probable cause created when a grand jury indicted

him. Dkt. 1 ¶ 157. The criminal complainants’ grand jury testimony was not perjured simply

because plaintiff was acquitted, and defendant was not required to present so-called exonerating

evidence to the grand jury. Plaintiff’s claim that the indictment was obtained by fraud or

suppression because defendant kept exculpatory information from the grand jury does not

overcome the presumption of probable cause, even if credited. Dkt. 1 ¶ 155.            This alone

establishes that plaintiff’s federal and state law claims for malicious prosecution be dismissed as

a matter of law.

          Plaintiff also failed to adequately allege that defendant acted with actual malice, but

instead makes mere “conclusory allegations or legal conclusions masquerading as factual

conclusions.” Koulina v. City of New York, 06-cv-11356(SHS) 2009 WL 210727 at *5

(S.D.N.Y. 2009). In fact, the word “malice” appears only three times (in a conclusory fashion)

and, even affording plaintiff every reasonable inference, the remainder of the complaint does not

support a finding that defendant acted with malice. Dkt. 1 ¶¶ 186, 192, and 268. At best, the

complaint alleges that defendant’s challenged conduct was a product of negligent hiring,

training, and supervision—not malice. Dkt. 1 ¶¶ 105, 108-09, 119, 122-131. Accordingly, and

for all the reasons above, plaintiff’s malicious prosecution claims in the Second and Eighth

causes of action must be dismissed.

    IV.      PLAINTIFF’S SECOND AND TENTH CAUSES OF ACTION MUST BE
             DISMISSED.

                                                19
        Plaintiff’s second cause of action alleges defendant and defendants Korchak, Cronin,

Minor, Zikuski, and Miller violated his constitutional rights by fabricating evidence, by

withholding exculpatory material and impeachment evidence, and by deliberately failing to

conduct a constitutionally adequate investigation. Dkt. 1 ¶¶ 198-205.          From what can be

discerned from the complaint, the specific claims against defendant fall into four general

categories: her evaluation of the evidence against plaintiff and subsequent decision to initiate

criminal proceedings (Dkt. 1 ¶¶ 66-87, 104-187), presentation to the grand jury (Dkt. 1 ¶¶ 154-

162, 172, 265), the alleged withholding of exculpatory evidence defense counsel (Dkt. 1 ¶¶ 124,

142-43, 155, 159, 162), and her preparation of complaining witnesses (Dkt. 1 ¶¶ 66, 112). As

discussed in Point I, supra, all such categories of claims are expressly foreclosed by the doctrine

of prosecutorial immunity and equally lack merit. Accordingly, plaintiff’s Second and Tenth

causes of action must be dismissed as a matter of law.

   V.      PLAINTIFF’S THIRD CAUSE OF ACTION MUST BE DISMISSED.

        Plaintiff’s third cause of action alleges defendant violated his constitutional rights by

failing to intervene on his behalf to prevent his malicious prosecution and deprivation of liberty.

Dkt. 1 ¶¶ 206-210. Plaintiff’s theory is based on the assumption that defendant is liable for

failure to intervene for her decision – after an evaluation of the evidence and the credibility of

the complainants – to pursue criminal charges against him. This theory is untenable and is in

direct tension with the concept of prosecutorial discretion and is otherwise precluded by absolute

prosecutorial immunity discussed in Point I, supra. See Komatsu v. City of New York, No. 20

CIV. 7046 (ER), 2021 WL 3038498 at *14 (S.D.N.Y. July 16, 2021).

        Plaintiff also does not plead the elements of a failure to intervene claim in his complaint.

“Law enforcement officials have an affirmative duty to intervene to protect the constitutional

                                                20
rights of citizens from infringement by other law enforcement officers in their presence,” but to

adequately plead this claim, plaintiff must also “allege [defendant] observed or has reason to

know of the constitutional violation, and that there must have been a realistic opportunity to

intervene to prevent the harm from occurring.” Id. Defendant could never have had a reasonable

opportunity to intervene in her own actions—the person primarily plaintiff credits with deciding

to arrest and prosecute him—nor in the actions of her supervisor, the District Attorney, nor in

those of an independent police department like BPD, or internal office investigators who lacked

charging authority. Dkt. 1 ¶ 130. Such intervention was either logically impossible or defendant

lacked the authority to do it. Accordingly, and for all the reasons above, plaintiff’s Third cause

of action must be dismissed.

   VI.      PLAINTIFF’S FIFTH CAUSE OF ACTION MUST BE DISMISSED

         It is unclear whether plaintiff alleges a Monell claim against defendant Congdon, but as

plaintiff alleges that defendant Congdon forwarded an unconstitutional county policy (Dkt. 1 ¶¶

238, 240-41), defendant Congdon notes the following.

         It is well established that a Monell claim asserts liability against a municipality and is

inapplicable against an individual like defendant. Defendant is sued in her individual capacity,

but even if not, even generously read, plaintiff’s Monell claims are purely derivative of his

claims against the individual defendants and, as set forth above, all such claims against defendant

are subject to dismissal as a matter of law. See Pinter v. City of New York, 448 Fed. Appx. 99,

106 (2d Cir. 2011).

   VII.     PLAINTIFF’S SEVENTH CAUSE OF ACTION MUST BE DISMISSED

         Plaintiff’s seventh cause of action alleges all defendants engaged in a civil rights

conspiracy to violate his constitutional rights. Dkt. 1 ¶¶ 263-221.         “To prove a § 1983


                                                21
conspiracy, a plaintiff must show: (1) an agreement between two or more state actors or between

a state actor and a private entity; (2) to act in concert to inflict an unconstitutional injury; and (3)

an overt act done in furtherance of that goal causing damages.” Sanders v. City of Saratoga

Springs, 691 F. Supp. 3d 548, 561 (N.D.N.Y. 2023).

       Plaintiff’s Complaint does not specify any instance where defendant “shared a common

unlawful goal” with another state actor or otherwise had an agreement to act in order to deprive

plaintiff of his constitutional rights. To the extent that plaintiff alleges a conspiracy within the

BCDAO, “it is well settled that there can be no actionable conspiracy under the civil rights laws

if the alleged conspirators are employees of a single organization and their alleged actions were

taken in the course of their employment.” Ahmed v. Gelfand, 160 F.Supp.2d 408, 413 (E.D.N.Y.

2001) (citing Girard v. 94th Street and Fifth Ave. Corp., 530 F.2d 66, 71 (2d Cir.), cert. denied,

425 U.S. 974 (1976); see also Herrmann v. Moore, 576 F.2d 453, 459 (2d Cir. 1978). All actions

alleged by defendant and the other employees of the BCDAO (the district attorney, other ADAs,

and/or office investigators), such actions occurred in the course of their employment, and

conspiracy claims relying thereon must be dismissed.

       To the extent that plaintiff alleges a conspiracy existing between defendant and/or other

members of the BCDAO along with the chief of and/or other members of the BPD, the

complaint lacks plausible facts to support such a conspiracy and includes only vague and

conclusory allegations, which do not suffice to sufficiently allege a constitutional conspiracy.

       Moreover, for the reasons explained in Point I supra, each and every overt act defendant

is alleged to have committed (Dkt. 1 ¶¶ 265) is independently protected by absolute prosecutorial

immunity, further foreclosing any valid claim that she engaged in a civil rights conspiracy. See

Thompson v. Kline, 504 F. Supp. 3d 200, 216-17 (W.D.N.Y. 2020) (holding that a prosecutor is


                                                  22
entitled to absolute immunity on a civil rights conspiracy claim when it stems from a pre-trial

meeting where a prosecutor allegedly conspired with witness to produce false testimony at trial).

Accordingly, plaintiff’s Seventh cause of action must be dismissed.

    VIII. PLAINTIFF’S NINTH CAUSE OF ACTION MUST BE DISMISSED

       Plaintiff’s ninth cause of action alleges a state law claim for intentional, reckless, or

negligent infliction of emotional distress against all defendants. Dkt. 1 ¶¶281-289. It is well

settled that claims against government bodies are barred as a matter of public policy, precluding

plaintiff from asserting this claim against ADA Congdon. 6 See Wyllie v. District Atty. of County

of Kings, 2 A.D.3d 714, 720 (2d Dept 2003). Notwithstanding, plaintiff does not make specific

allegations that ADA Congdon’s conduct constituted “extreme and outrageous conduct, which so

transcends that bounds of decency as to be regarded as atrocious and intolerable in a civilized

society” as is necessary to state a claim of intentional or reckless infliction of emotional distress.

Id. As explained, defendant Congdon’s alleged conduct was squarely within her role and duties

as a prosecutor, and as such, cannot be said to meet the high pleading standard of intentional

and/or reckless infliction of emotional distress.

       Similarly, plaintiff does not allege any facts to show defendant “breach[ed] a duty owed

to [him] which unreasonably endangered [his] physical safety, or caused [him] to fear for [his]

own safety,” as necessary to support a claim for negligent infliction of emotional distress.

Schultes v. Kane, 50 A.D.3d 1277, 1278-79 (3d Dept 2008). It is unclear how plaintiff and/or

his family’s safety was every endangered, as no specific facts were alleged to that effect.

Instead, plaintiff points to social media posts and photos demonstrating the public was

boycotting several restaurants he had ties to. Dkt. 1 ¶¶ 88-103. To be sure, plaintiff does not


6       To the extent plaintiff would rely on conduct protected by prosecutorial immunity to
establish wrongful infliction of emotional harm, defendant relies on her arguments above.
                                                    23
allege that defendant had anything to do with the creation of such social media posts or the dead

animals that were supposedly left outside the restaurants. Accordingly, this branch of plaintiff’s

Complaint must be dismissed in its entirety.

                                           CONCLUSION

       For the above reasons, defendant Alyssa Congdon respectfully requests the Court grant

her motion to dismiss plaintiff’s complaint as against her in its entirety, with prejudice, together

with such other and further relief the Court deems just and proper.

DATED:         January 31, 2025

                                                                      HACKER MURPHY, LLP

                                                                               /s/James C. Knox
                                                                            James C. Knox, Esq.
                                                                           Bar Roll No. 517109
                                                         Attorneys for Defendant Alyssa Congdon




                                                24
